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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                  Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

             Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

        DEFENDANT/COUNTER-PLAINTIFF’S REPLY TO PLAINTIFFS’ RESPONSE IN
        OPPOSITION TO MOTION FOR REHEARING AND/OR RECONSIDERATION OF
           THE COURT'S JUNE 24, 2019 RULING REGARDING ITS SUA SPONTE
                 STRIKING OF DEFENDANT’S AFFIRMATIVE DEFENSES

             Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY (“Defendant”

   or “Rockhill”), by and through its undersigned counsel and pursuant to Local Rule 7.1

   (c), files its Reply to Plaintiffs’/Counter-Defendants’ Response in Opposition [D.E. #117]

   to Defendant's Motion for Rehearing and/or Reconsideration of the Court's June 24,

   2019 Sua Sponte Ruling Striking Defendant's Affirmative Defenses [D.E. #112], stating

   as follows:

        I.      INTRODUCTION

             As the Court is aware, the instant lawsuit arises out of an alleged September 10,

   2017 Hurricane Irma loss and damages to certain real property located at 280 Sierra

   Drive, North Miami, Florida 33179, which the Plaintiffs, AM GRAND COURT LAKES

   LLC and AM 280 SIERRA DRIVE LLC. (the “Plaintiffs”) contend are covered under an

   insurance policy they entered into with Defendant, Policy Number RCPPRU000002 (the

   “Policy”).
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         On June 21, 2019, the Court issued an Order to Show Cause as to why

   sanctions should not be imposed for the parties' failure to comply with Court Orders and

   the Local Rules, requiring the attendance of the parties' counsel to appear on June 24,

   2019 for a Show Cause Hearing. [D.E. #103].

         At the June 24, 2019 Show Cause Hearing, the Court ruled, sua sponte, that all

   of Rockhill's affirmative defenses, with the exception of the pre-existing damages

   defense, were stricken, without any indication of giving Defendant an opportunity to

   amend, because there was "no slight indication of an affirmative defense being

   germane to the policy" and "were not pied properly", citing to Meridian of Palm Beach

   Condominium Association, Inc. v. QBE Insurance Corp., 2007 WL 1364334 (S.D. Fla.

   2007) as authority to do so. See [D.E. #107 and D.E. #110]. As previously argued,

   Plaintiffs never filed or sought to strike any of Rockhill's Affirmative Defenses or its

   Counterclaim.

         Consequently, on July 11, 2019, Defendant filed its Motion for Rehearing and/or

   Reconsideration of the Court's June 24, 2019 Sua Sponte Ruling Striking Defendant's

   Affirmative Defenses ("Defendant's Motion for Rehearing and/or Reconsideration").

   [D.E. #112]. Thereafter, on July 25, 2019, Plaintiffs filed their Response in Opposition

   to Defendant’s Motion for Rehearing and/or Reconsideration (“Response) [D.E. #117].

         For reasons more particularly set forth herein, Plaintiffs’ Response is without

   merit and the Court should grant Defendant’s Motion for Rehearing and/or

   Reconsideration or alternatively grant leave for Rockhill to amend its Affirmative

   Defenses.

   II.   ARGUMENT



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          A.       Rehearing and/or Reconsideration is Warranted Under Both Rule 59,
                   and Fed.R.Civ.P. Rule 60, Fed.R.Civ.P.

          In their Response, Plaintiffs assert:

          The Defendant is now moving for rehearing and/or reconsideration of the
          Court's July 24, 2019 ruling simply because the Defendant does not agree
          with the Court's ruling, [D.E. 109], pg. 9, which is not a legal basis
          pursuant to either Fed. R. Civ. P. 59 or 60.

   See [D.E. #117], pg. 4.

          Contrary to Plaintiffs’ assertion, Defendant has moved for rehearing and/or

   reconsideration, seeking relief from this Court’s sua sponte ruling striking its affirmative

   defenses, to prevent manifest injustice resulting from the Court’s erroneous application

   of law to the facts of this case, resulting in the Court’s prejudicial imposition of an unduly

   strict sanction upon Defendant, without first considering a lesser sanction. See [D.E.

   #112], pg. 7.

          This type of relief is specifically available under Federal Rule of Civil Procedure

   59, where the movant demonstrates “the need to correct clear error or prevent manifest

   injustice.” Lawson v. Singletary, 85 F.3d 502 (11th Cir. 1996)(district court abused its

   discretion in not granting the motion to alter or amend a judgment); United States v.

   Persaud, 235 F.R.D. 696, 701-02 (M.D. Fla. 2005)(granting Rule 59(e) motion to avoid

   manifest inequality); Sussman v. Salem, Saxon, & Nielson, 153 F.R.D. 689, 694-95

   (M.D. Fla. 1994); Offices Togolais Pes Phophates v. Mulberry Phosphates, 62 F. Supp.

   2d 1316, 1331 (M.D. Fla. 1999).

          In addition, Federal Rule of Civil Procedure 60 invests in the Court a broad power

   to relieve a party or a party's legal representative from a final judgment, order, or

   proceeding by virtue of, among other reasons, mistake or any other reason justifying



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   relief from the operation of the judgment, and such mistakes include mistakes of fact as

   well as mistakes of law. Nisson v. Lundy, 975 F.2d 802, 806 (11th Cir.1992)(“where a

   district court's mistake was ‘clear on the record’ and involved... an erroneous application

   of that law to the facts, ‘compelling policies of basic fairness and equity reflected by

   [Rule] 60(b)’ may mandate amendment to ‘conform its judgment to the law”’).

   Whichever of Rule 60(b)'s reasons support a motion for relief from judgment, the rule is

   to be given a liberal and remedial construction. 975 F.2d at 807. See also Damiano v.

   Fed. Deposit Ins. Corp., 104 F.3d 328, 332 (11th Cir. 1997); Cavaliere v. Allstate Ins.

   Co., 996 F.2d 1111, 1115 (11th Cir. 1993); Lender v. Unum Life Ins. Co. of America,

   Inc., 519 F. Supp.2d 1217, 1232 (M.D. Fla. 2007)(recognizing the catch-all provision

   under Rule 60(b)(6) as a “grand reservoir of equitable power to do justice in a particular

   case”); U.S. v. Persaud, 235 F.R.D. 696, 701 (M.D. Fla. 2005).

          B.     The Subject Rulings Do Not Cite to any Failure to Comply With Court
                 Orders or Bad Faith on the Part of Defendant, as the Plaintiffs
                 Suggest to this Court

          In their Response, Plaintiffs argue that the Court was justified in its utilizing its

   inherent powers to strike Rockhill’s defenses, stating as follows:

          …..the Court provide[d] notice to the Defendant that sanctions were being
          contemplated for the parties' failure to comply with the Court's Order and Local
          Rules which would be determined at the July 24, 2019 hearing…..See [D.E.
          #117], pg. 8.

          "The key to unlocking a court's inherent power is a finding of bad faith." Barnes v.
          Dalton, 158 F. 3d 1212, 1214 (11th Cir. 1998). A finding of bad faith is warranted
          when a party knowingly or recklessly raises a frivolous argument, argues a
          meritorious claim for the purpose of harassing an opposing party, delaying or
          disrupting the litigation, or hampering enforcement of a court order. Id. See [D.E.
          #117], pg. 9.




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          However, the Court did not cite to a failure comply with Court Orders or bad faith

   on the part of Rockhill as the basis for striking its affirmative defenses. Rather, the Court

   struck Rockhill’s defenses based on its “cut-and-pasted” citation of policy provisions,

   despite the fact that, as argued in Defendant’s Motion for Rehearing and/or

   Reconsideration, this practice is permitted and provides proper notice of its defenses to

   Plaintiffs and the Court, pursuant to the Federal Rules of Civil Procedure. See [D.E.

   #112], pg. 10, 11. See also Sun Capital Partners, 2017 WL 10402415 at *9 (S.D. Fla.

   2017); Island Shores Condo. Assoc., Inc. v. Great American Ins. Co. of New York, 2015

   WL 12781320 (S.D. Fla. 2015); Palms of Pembroke Condo. Assoc., Inc. v. Glencoe

   Ins., Ltd., 2014 WL 11706422 at *2 (S.D. Fla. 2014); Oriole Gardens Condominium

   Ass'n I v. Aspen Spec. Ins. Co., 2012 WL 864629, at *2 (S.D. Fla. 2012); Meridian of

   Palm Beach Condo. Ass'n, Inc. v. QBE Ins. Corp., WL 1364334 (S.D. Fla. 2007). This

   argument, advanced by Defendant in the Motion for Rehearing and/or Reconsideration,

   was not controverted by Plaintiffs in their Response [emphasis supplied].

          C.     Striking Pleadings as a Sanction is an Extraordinary and Improper
                 Punishment, Appropriate Only as a Last Resort

          The Court’s ruling at issue in Defendant's Motion for Rehearing and/or

   Reconsideration constitutes extraordinary and improper relief. The striking of defenses

   is disfavored and should be granted only if it appears that the defendant cannot

   succeed under any set of facts which it could prove. Badesch v. Aetna Health, Inc.,

   2008 WL 2856599, at *1 (S.D. Fla. 2008).            “Courts should not strike affirmative

   defenses ‘when there are substantial and disputed questions of law and the plaintiff

   would not suffer prejudice as a result.’” CI Intern. Fuels, LTDA v. Helm Bank, S.A., 2010

   WL 3056598, at *3 (S.D. Fla. 2010)(quoting Augustus v. Bd. Of Pub. Instr. of Escambia

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   Cnty., 306 F. 2d 862, 868 (5th Cir. 1962)). A court should not exercise its discretion to

   strike a pleading unless the challenged allegations have no possible relation or logical

   connection to the subject matter of the controversy and may cause some form of

   significant prejudice to one or more of the parties to the action. Kenneth F. Hackett &

   Assocs., Inc. v. GE Capital Information Tech. Solutions, Inc., 744 F. Supp. 2d 1305,

   1309 (S.D. Fla. 2010); Fireman’s Fund Ins. Co. v. Gulf Ins. Co., 2005 WL 1863383

   (M.D. Fla. 2005). See also, Thompson v. Kindred Nursing Ctrs. E., LLC, 211 F. Supp.

   2d 1345, 1348 (M.D. Fla. 2002). As the Court noted in CI Intern. Fuels, affirmative

   defenses should not be stricken where, as in the instant case, “there are substantial and

   disputed questions of law and the plaintiff would not suffer prejudice as a result.” 2010

   WL 3056598, at *3. The striking of a party's defenses is a sanction is a heavy

   punishment, appropriate only as a last resort, when less drastic sanctions would not

   ensure compliance with the court's orders. Eagle Hosp. Physicians, LLC v. SRG

   Consulting, Inc., 561 F.3d 1298, 1306 (11th Cir. 2009); In re Sunshine Jr. Stores, 456

   F.3d 1291, 1305-06 (11th Cir. 2006).

   III.   CONCLUSION

          In light of the foregoing, Rockhill moves this Court to have a rehearing and/or

   reconsider and reverse or vacate its June 24, 2019 ruling striking its affirmative

   defenses, given the additional authority provided in Defendant’s Motion and prejudice

   suffered by Rockhill. Further, although the Court did not verbally strike Rockhill's

   affirmative defenses with prejudice, the Court's instruction implies that such a ruling was

   so and as such Rockhill, in the alternative, moves this Court for leave to amend its

   affirmative defenses to include facts to the extent necessary.



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          WHEREFORE,            Defendant/Counter-Plaintiff,       ROCKHILL       INSURANCE

   COMPANY, respectfully requests that the Court enter an Order granting its Motion for

   Rehearing and/or Reconsideration or alternatively granting leave for Rockhill to amend

   its Affirmative Defenses, as well as such further relief that it deems just and proper

   under the circumstances.

                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on July 30, 2019, the undersigned

   electronically filed the foregoing document with the clerk of the Court using CM/ECF.

   The undersigned also certifies that the foregoing document is being served this day to:

   Font & Nelson, PLLC, 200 S. Andrews Avenue, Suite 501, Fort Lauderdale, Florida

   33301 (jfont@fontnelson.com; afriedman@fontnelson.com; bfischer@fontnelson.com;

   fnelson@fontnelson.com;            gvega@fontnelson.com;            jproffitt@fontnelson.com;

   jwilds@fontnelson.com; nkronen@fontnelson.com; pleadings@fontnelson.com); either

   via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

   authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic filing.

                                                  LEVY LAW GROUP

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